     Case 4:12-cv-00139-WTM-GRS Document 104 Filed 03/04/13 Page 1 of 2



                     UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

LISA T. JACKSON,

        Plaintiff,

V.                                            Case No. CV412-139

PAULA DEEN,
PAULA DEEN ENTERPRISES, LLC,
THE LADY & SONS, LLC,
THE LADY ENTERPRISES, INC.,
UNCLE BUBBA'S SEAFOOD AND
OYSTER HOUSE, INC., and
EARL W. HIERS,

       Defendants.

                                      ORDER

       Plaintiff Lisa Jackson moves the Court -- on an emergency basis --

to seal the sanctions motion (doc. 101) that the defendants filed this past

Friday at 5:20 p.m. Doc. 102. Good cause must be shown to seal court

records.' The sanctions motion illuminates many cyberpace statements



   Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir.
2001) ("The common-law right of access to judicial proceedings ... is instrumental in
securing the integrity of the process" and unquestionably "includes the right to
inspect and copy public records and documents."); Romero v. Drummond Co., 480
F.3d 1234, 1245-46 (11th Cir. 2007) (explaining that "[m]aterial filed in connection
with any substantive pretrial motion ... is subject to the common law right of access"
I .       Case 4:12-cv-00139-WTM-GRS Document 104 Filed 03/04/13 Page 2 of 2




      made by lead counsel for the plaintiff, Matthew C. Billips. Billips does

      not invoke his own privacy rights. Instead, he says the motion contains

      a substantial amount of unrelated communications (i.e., his own) so

      prejudicial that it should be sealed to protect against "any possibility that

      this proceeding may be materially prejudiced, either as a result of the

      conduct of counsel for both Plaintiff or Defendants." Doe. 102 at 3.

            The Court agrees that there is a substantial amount of extraneous

      material set forth in the sanctions motion. And, even though it has been

      E-filed and is now on the Court's publicly accessible docket ("PACER"),

      the Clerk informs the Court that docketing emails announcing its

      existence have been sent only to the parties. There is a reasonable

      chance that the media has not yet seen the motion. Out of an abundance

      of caution, the Court GRANTS the motion (doe. 102) pending further

      briefing.

           SO ORDERED, this          fL day of March, 2013.
                                             UNITEqSTATES             JUDGE
                                             SOUTHERN DISTRICT OF GEORGIA


      with any substantive pretrial motion ... is subject to the common law right of access"
      and that such "common law right of access may be overcome by a showing of good
      cause").

                                                2
